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§ 371. Count Two of the Indictment charges Maxwell with enticing a minor to travel to engage in
illegal sex acts, in violation of 18 U.S.C. § 2422 and 2. Count Three of the Indictment charges
Maxwell with conspiring with Epstein and others to transport minors to participate in illegal sex
acts, in violation of 18 U.S.C. § 371. Count Four of the Indictment charges Maxwell with
transporting minors to participate in illegal sex acts, in violation of 18 U.S.C. § 2423 and 2. Counts
Five and Six charge Maxwell with perjury, in violation of 18 U.S.C. § 1623. Counts One through
Four focus on conduct between approximately 1994 and 1997.

        The charges in the Indictment arose out of a broader investigation into Epstein’s sexual
abuse of minors, which covered time periods beyond that included in the Indictment. During the
course of that broader investigation, the Government has interviewed dozens of victims who were
sexually abused by Epstein. As part of that broader investigation, the Government has obtained a
limited number of sensitive documents and photographs regarding certain victims who were
sexually abused by Epstein after 1997 (the “Materials”). These Materials include, for example,
school photographs of certain victims and records, such as bank and travel records, for certain
victims. The Government does not anticipate offering these Materials as evidence at trial in this
case, and the Materials do not relate to individuals whom the Government currently anticipates
calling as witnesses at trial. Moreover, the Materials post-date the time period charged in the
Indictment.

        The Government has reviewed the Materials for any potentially exculpatory material, and
has found none. Nevertheless, because the Government is taking an expansive approach to
disclosures in this case, the Government intends to produce these Materials to the defendant along
with 3500 material for non-testifying witnesses sufficiently in advance of trial in order to enable
the defendant to review and, if appropriate, make use of the Materials in her defense. In particular,
the Government intends to produce to the defendant, pursuant to a protective order, statements of
all witnesses the Government has interviewed during its broader investigation, even if the
Government does not intend to call those witnesses at trial. Should the Court grant the instant
application, the Government would produce the Materials, along with any witness statements
pertaining to the victims identified in the Materials, at the same time as all other statements by
non-testifying witnesses. The Government is prepared to make that production as early as eight
weeks in advance of trial. Because the volume of the Materials is limited to approximately 40
photographs and approximately 40 pages of documents, defense counsel’s review of the Materials
is unlikely to be unduly time consuming, thus minimizing any potential prejudice to the defendant
from the delayed production.

        Delayed disclosure of the Materials is warranted because they include identifying
information for victims who are not expected to testify in this case and who have provided
information as part of the Government’s ongoing investigation, the immediate disclosure of which
would risk interfering with the Government’s ongoing investigation. See United States v.
Mannino, 480 F. Supp. 1182, 1188 (S.D.N.Y. 1979) (permitting delayed production of documents
whose immediate disclosure to the defense would interfere with ongoing investigation); cf. United
States v. Smith, 985 F. Supp. 506, 531-32 (2d Cir. 2013) (risk of interference with ongoing
investigation sufficient good cause for entry of Rule 16 protective order). Immediate disclosure
of these materials would have the effect of prematurely revealing to the defendant the identities of
certain Epstein victims who are not referenced in the Indictment but who have spoken with the
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Government as part of its ongoing investigation, well in advance of any trial in this matter.
Premature disclosure of these witnesses’ identities and sensitive information about those witnesses
risks jeopardizing the Government’s ongoing investigation in at least two respects. First,
disclosure would tend to reveal to the defendant the scope of and evidence gathered during the
Government’s ongoing investigation, the details of which are not currently public or known to the
defendant. Second, an order requiring the immediate production of these Materials would risk
deterring other victims from coming forward to be interviewed and from providing evidence to the
Government. Victims who may be considering cooperating with the Government’s investigation
may decline to do so if they believe that the information they provide—even information outside
the period charged in the Indictment—must be immediately disclosed to the defense in this case.
Given the sensitivity of the Materials, the need to protect the Government’s ongoing investigation,
and the minimal (if any) relevance of the Materials to the offenses charged in the Indictment, the
Government respectfully submits that good cause exists pursuant to Rule 16(d) to delay their
disclosure.

      Accordingly, the Government respectfully requests that the Court approve the
Government’s request to delay disclosure of these Materials.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney


                                             By:
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Cc: All Counsel of Record (By ECF)
